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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION


   BABY DOE, et al.,                                )
                                                    )
                   Plaintiffs,                      )
                                                    )
   v.                                               ) Case No. 3:22-cv-00049-NKM-JCH
                                                    )
   JOSHUA MAST, et al.,                             )
                                                    )
                   Defendants,                      )
                                                    )
   and                                              )
                                                    )
   UNITED STATES SECRETARY OF                       )
   STATE ANTONY BLINKEN, et al.,                    )
                                                    )
                   Nominal Defendants.              )
                                                    )


                    STIPULATION TO DISMISS NOMINAL DEFENDANTS

          Pursuant to Fed. R. Civ. P. 41(a), Plaintiffs Baby Doe, John Doe and Jane Doe; Defendants

  Joshua Mast, Stephanie Mast, Richard Mast, Kimberley Motley, Ahmad Osmani; and Nominal

  Defendants Secretary Antony Blinken and General Lloyd Austin, by counsel, hereby stipulate to the

  dismissal of Nominal Defendants from this case. The dismissal of Nominal Defendants is without

  prejudice to the United States’ authority to attend to its interests in this case pursuant to 28 U.S.C.

  § 517 and without prejudice to any future assertion in this case of a claim seeking relief from any

  federal party, including Nominal Defendants. Nominal Defendants, as well as any other federal party

  who might be named in such a claim, reserve the right to assert any and all applicable defenses to any

  such claim.

  Dated: August 1, 2023                    Respectfully submitted,

                                           /s/ Maya Eckstein

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